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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL LEAGUE               No. 2:12-md-02323-AB
RETIRED PLAYERS’ CONCUSSION
INJURY LITIGATION                             MDL No. 2323


THIS DOCUMENT RELATES TO: ALL                 Hon. Anita B. Brody
ACTIONS PENDING AND ALL CLAIMS
ASSERTED AGAINST ANY RIDDELL
DEFENDANT



               PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
                  THE RIDDELL DEFENDANTS’ MOTION TO DISMISS
              PLAINTIFFS’ SECOND AMENDED MASTER ADMINISTRATIVE
             LONG-FORM COMPLAINT BASED ON LMRA § 301 PREEMPTION




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            Plaintiffs (“Plaintiffs” or “Players”) respectfully request that the motion to dismiss the

Second Amended Master Administrative Long-Form Complaint (“SAC”) on preemption grounds

(Dkt. No. 9574) filed by Defendants ALL AMERICAN SPORTS CORPORATION, EASTON-

BELL SPORTS, INC., EASTON-BELL SPORTS, LLC, EB SPORTS CORP., RBG

HOLDINGS CORP., RIDDELL SPORTS GROUP, INC., and RIDDELL, INC. (“Riddell” or

“Riddell Defendants” or “Defendants”) be denied.

I.          INTRODUCTION

            In asking this Court to preempt all of Plaintiffs’ claims based on § 301 of the Labor

Management Relations Act of 1947, 29 U.S.C. § 185 (the “LMRA”), the Riddell Defendants

recast the allegations in the SAC—going so far as to criticize the SAC for its specificity,

misapply fundamental preemption principles, and largely copy the NFL defendants’ earlier brief.

Yet the SAC describes decades of wrongdoing by the Riddell Defendants. The Riddell

Defendants engaged in misconduct along with the NFL and other defendants, and in fact has

conspired with each of them to hide known safety risks. Yet, the Riddell Defendants are distinct

entities separate from the NFL defendants, with their own motives for (and benefits arising out

of) the wrongdoing, and their preemption arguments are, if anything, even more strained than the

failed preemption arguments brought by the NFL.1

            Riddell is not a signatory to any Collective Bargaining Agreement (“CBA”). It is an

outsider to the CBAs, with no role in any bargaining, and no obligations or benefits under the

CBAs. While its misconduct directed toward all players for its own benefit foreseeably harmed

each particular Plaintiff here, Riddell did not even interact directly with players, team physicians,


1
 Plaintiffs refer this Court to the Opt Out Plaintiffs’ Opposition to the Motion to Dismiss under
Preemption filed by the NFL and the NFL P (Dkt. No. 9522), and incorporate those arguments
here.



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coaches or individual Clubs. The claims against Riddell raise classic issues of state law (in

particular, negligence, fraud, and also products liability claims) that hold manufacturers liable

when they make and knowingly continue to make dangerous products and hide those dangers for

their own benefit. Its arguments in favor of preemption fail.

            First, Riddell misstates the reach of preemption in its Argument Section I in effectively

suggesting that the existence of a CBA wipes out any claim, however unrelated to anything in

any CBA. LMRA preemption exists for the important, but discrete, purpose of facilitating the

consistent application of contracts reached via collective bargaining. It requires careful analysis

to establish which if any CBA provisions, are at issue, as well as a determination of the nature of

the precise law at issue and how it is proven. The Supreme Court held in Lingle v. Norge Div. of

Magic Chef, Inc., 486 U.S. 399 (1988) that mere “parallelism” between facts supporting a

grievance under a CBA and a state-law claim does not support preemption. Lingle, 486 U.S. at

408, 413 (“we hold that an application of state law is pre-empted by § 301 of the Labor

Management Relations Act of 1947 only if such application requires the interpretation of a

collective-bargaining agreement”). Id. at 413. Based on the correct interpretive principles,2

there is no basis for this Court to take the extraordinary step of dismissing all claims in the SAC,

especially pre-discovery.

            Second, Riddell errs in its Argument Section II in positing that Plaintiffs’ claims are

preempted because Riddell conspired with the NFL, the NFL Properties (the “NFL P”), and, at

times, the NFL Charities (“NFL C”). The NFL P agreed to ensure that the equipment and

materials it licensed and approved were of the highest quality and sufficient to protect the players


2
  Since the Class Plaintiffs’ and Riddell last briefed this issue approximately five years ago, a
number of carefully-reasoned decisions have been issued that well illustrate why preemption is
inappropriate here.



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from harm. NFL P was used by the NFL to fund NFL Charities, which in turn, funded “sham”

research. The NFL P worked directly with the Riddell Defendants. As an initial and dispositive

matter, the claims against the NFL defendants are not preempted. Further, Riddell confuses two

different things in resting its argument on the fact that under some circumstances a non-signatory

to a CBA can raise a preemption defense when the underlying claims at issue are preempted.

However, here the claims are not preempted, and notably Riddell cites no law to support its

assertion that the existence of a fraudulent conspiracy turns non-preempted claims into

preempted claims. That Riddell engaged in this misconduct as part of a fraudulent conspiracy,

instead of simply on its own, does not serve to preempt otherwise non-preempted claims. No

authority says otherwise. Notably, the sole authority on which Riddell relies for this part of its

argument, Wolf v, Rawlings Sporting Goods Co. Inc., No. 10-cv-3713, 2010 WL 4456984

(S.D.N.Y. Oct. 26, 2010), is not an LMRA preemption case at all.3

            Third, Riddell’s Argument Section III fails because Riddell, which has the burden on this

affirmative defense of preemption, does not show that the any of Plaintiffs’ claims are dependent

on or intertwined with any CBA provision. Plaintiffs’ claims are based on the common law

duties of care and the prohibition against fraud. Those duties of care were repeatedly confirmed

(and expressly and voluntarily assumed by Riddell) when Riddell exchanged helmets to the NFL

and the NFL P for free in return for free advertising by NFL P and the NFL. Notwithstanding

Riddell’s curious argument (which no doubt would come as an unpleasant surprise to its

employees and/or investors) that its free advertising provides no value, in fact, Riddell has

benefitted tremendously from its misconduct. It is respectfully submitted that year after year,


3
  Wolf involved estoppel, not preemption, and the court did not dismiss claims against the helmet
manufacturer but instead compelled them to arbitration. Moreover, unlike here, the claims were
intertwined with the applicable contracts.



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the Riddell helmets known as the “Official Helmet of the NFL” were shown to millions of avid

football fans and TV viewers.4 The intent of the agreements between NFL P, the NFL and

Riddell is clear: the Riddell equipment was to be worn by the Players when the Players played

football in the NFL, and especially when those games were televised, filmed, photographed, or

when the Players made public appearances in uniform in order to advertise. The Riddell

Defendants’ grievous misconduct resulting in harm to hundreds of former players was

foreseeable. These common-law duties need no interpretative assistance from the CBAs, to

which the Riddell Defendants were never signatories or parties.

            Fourth, Riddell relies on scant case law, and spends much of its Argument IV (its case-

law section) trying to distinguish a favorable opinion for Plaintiffs in which the court held that

conspiracy claims against Riddell based on its fraudulent cover-up with the NFL were not

preempted. Overall, the few cases Riddell attempts to grapple with do not support its arguments

at all, and actually undermine them. The claims here are not preempted.

II.         RELEVANT BACKGROUND

            Plaintiffs are retired professional football players who suffered concussive and sub-

concussive head trauma while participating in football games, or training and practice, wearing

Riddell helmets, and who suffer from the subsequent risk and/or symptoms of latent brain injury

from this repetitive head trauma. SAC ¶8. Each injured Player has initiated this lawsuit for his

own personal reasons, notwithstanding Riddell Defendant’s inappropriate and ill-taken




4
 According to Nielsen data cited by ESPN.com, an average of 15 million people have watched
NFL games in the 2017-2018 season, down about 7.5 percent from the 16.2 million average
viewers through Week 6 in 2016-2017, http://www.sportingnews.com/nfl/news/nfl-tv-ratings-
viewership-cbs-fox-stock/17014jc77y5rpzqhoiw8tugx8 (last visited March 26, 2018).




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denigrating suggestion that these people already are receiving payments from the NFL and

therefore, are simply gold digging by bringing their claims against the Riddell Defendants.

            As a result of the accumulation of multiple head traumas the Players suffered while

wearing purportedly Riddell helmets to protect their heads, Plaintiffs are suffering latent and/or

chronic debilitating brain diseases such as early-onset dementia, amyotrophic lateral sclerosis

(“ALS”), chronic traumatic encephalopathy (“CTE”), memory loss, headaches, confusion, severe

depression, extreme emotional lability, inability to control their outbursts, anxiety and other

serious neurological maladies. SAC ¶¶8,103,379.

            A.     The Riddell Defendants’ Fraudulent and Self-Serving Cover-Up of Known
                   Neurological Risks Substantially Contributed to the Injuries and Harm
                   Suffered by the Players and their Families.

            Despite knowing for decades the long-term risks of repeated head traumas in professional

football, the helmet manufacturers failed to protect the users of the helmets and failed to warn

them of the risks and consequences of the accumulation of head trauma their professional

football career entailed. Riddell Defendants had the best opportunity to warn the players of the

risks and dangers of latent brain disease from repetitive head traumas and that the disease

symptoms may not surface until long after they left professional football. But, Riddell ignored

its duty and ignored the opportunity: Riddell failed to take any action to warn the Players. The

Riddell Defendants manufactured and supplied most of the helmets and other personal safety

equipment and could have used the supply of that equipment, which indeed did not keep the

Players safe, as a way to clearly warn Players.

            Left to fend for themselves, some of the Players committed suicide, others sought drugs

and alcohol to medicate themselves as a result of the symptoms of the latent brain diseases,

others were and are lost and homeless. These horrible outcomes were predictable, and both the

Riddell Defendants and the NFL Defendants knew of these tragic dangers but nonetheless, each



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Defendant refused to take any steps to protect any of the retired Players from incurring or

exacerbating conditions caused by the accumulation of head traumas.

            As set forth in the SAC, the Riddell Defendants acted in concert with the NFL, NFL P,

and NFL C to conceal and downplay the dangers and to attain maximum market share and profits

from professional football and from the sale of the Riddell Defendants’ football gear, while they

continued to deceive the Players, their families, and the public that repetitive head trauma did not

pose a risk of permanent latent brain injuries. The Riddell Defendants possessed actual

knowledge connecting concussive and sub-concussive blows to the head to brain injuries and

disease, yet created elaborate deceptions to conceal the permanent harm that resulted. Id. at ¶¶

16,57.

            The NFL first granted Riddell an exclusive license in 1989. Through 2011, Riddell has

been the only company allowed to display its name on an NFL helmet and to produce miniature

souvenir helmets. While Players technically could wear any helmet they chose, the clubs

provided the helmets and uniforms to the Players. Acting together with the NFL Defendants, the

Riddell Defendants developed sham science, and, knowingly developed, licensed, and marketed

ineffective harm-reducing technology and equipment. Defendants funneled millions of dollars in

funds to the 501(c)(3) entity that NFL Defendants owned and ran called NFL Charities in order

to gain financial benefit in the process of weaving this elaborate web of deception. Id. at --.

Specifically, the Riddell Defendants, along with the NFL, funded and populated a sham

committee of “experts” to further the “big lie” that concealed and downplayed the permanent

harm from repetitive head trauma. Id. at ¶¶ 16,57. And, at the same time, the Riddell

Defendants supplied the helmets prominently worn in the ‘films’ made by the NFL showing

glorified violence to entice and excite the audience. Id. at ¶¶85-97.




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            The Riddell Defendants, together with the NFL and the NFL P, perpetrated a massive

fraud on the Players and the public by, among other things:

                   •      Continuing to conceal a known link between amyotrophic lateral sclerosis
                          and repetitive head trauma in NFL Players by funneling $125,000 to in
                          501(c)(3) contributions to tobacco-industry-supported neurologist
                          Dr. Stanley Appel to research the link between ALS and football;

                   •      Funneling “Mild Traumatic Brain Injury (“MTBI”) grant” money to
                          reputed defense-expert firm Exponent Failure Analysis, Inc., which has
                          previously argued that secondhand smoke did not cause cancer, to devise
                          neuropsychological test protocol under Dr. Robert Fijan, Ph.D.;

                   •      Funneling several hundred thousand dollars per year through the NFL’s
                          501(c)(3) to David C. Viano, a professional defense-side expert in the
                          automotive industry, who spent his entire career testifying for General
                          Motors and other auto manufacturers in product liability lawsuits and has
                          made millions of dollars doing it;

                   •      Funneling “MTBI grant” money to National Operating Committee on
                          Standards for Athletic Equipment (“NOCSAE”) to support self-serving
                          research endeavors;

                   •      Publishing a total of 16 papers in the peer-reviewed journal Neurosurgery
                          on “Concussion in Professional Football” premised on knowingly false
                          data sets;

                   •      Agreeing with the NFL entities to provide the safest possible football
                          helmets licensed as the “official helmet of the NFL” with the Riddell
                          name, while knowing that none of these helmets warned or protected
                          against the dangers of latent brain disease;

                   •      Attempting to create a fraudulent “concussion severity index” in the
                          1990s;

                   •      Knowingly relied upon false data in concussion “epidemiology” research;

                   •      Riddell, NFL, and NFL C (not NFL P) negligently performed voluntarily
                          undertaken duties pertaining to the MTBI-Committee;

                   •      Funneling money through the NFL’s 501(c)(3) arm, NFL Charities to the
                          fraudulent “MTBI committee” to support Riddell helmet products as
                          superior, through flawed research at Wayne State University;




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                   •      Funneling money with fraudulent “MTBI grant” money to expert witness
                          firms such as the highly controversial “Exponent Failure Analysis,” also
                          infamous for its controversial (and discredited) work for Big Tobacco;

                   •      Riddell Defendants and the NFL negligently marketed football and the
                          Riddell “Revolution” helmet;

                   •      NFL P (not NFL; not NFL C) and Riddell breached respective duties to
                          license in non-negligent fashion and to provide equipment sufficient to
                          prevent injury;

                   •      Defendants Riddell and the NFL hired, retained, and supervised Dr. Viano
                          for the purpose of performing non-clinical research; and that they each
                          failed to properly investigate his credentials before retaining him and/or
                          supervise him as he propagated injurious false science;

                   •      Riddell Defendant placed a defective helmet-label warning claim for
                          omitting CTE, suicidality, and neurodegeneration, among other things.

SAC ¶60.

            Indeed, Defendants—all of whom shared financial responsibility for this undertaking—

published at least 16 sham science journal articles that made notoriously false conclusions on

brain injury as applied not merely to NFL Players but also to teenagers and children. Id. at ¶ 60.

Plaintiffs placed their trust and confidence in Riddell Defendants to protect them from unknown

harms and warn them when their health was in jeopardy—particularly, when it had to do with

their brains. Defendants voluntarily assumed this duty as provisionary of the “safety” helmets.

SAC ¶ 64.

            B.     The Collective Bargaining Agreements Are Outside the SAC and Are
                   Irrelevant to the Riddell Defendants.

            The SAC does not mention the CBAs, or any CBA provision. This is unsurprising

because the agreements between the NFL Players Association and the Clubs largely related to

game- and season-specific issues. There is no mention of the Riddell Defendants. This case has

nothing to do with any provision in any of the Agreements, any Player’s entitlement to any




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benefit under any CBA, or any issue of representation by NFPLA. None of the Riddell

Defendants engaged in any labor negotiations with the NFLPA, the clubs, or the Players.

            Instead, the Riddell Defendants “engage[d] in tortious and injurious conduct and to

conceal material facts regarding the connection between blows to the head and latent brain

disease” SAC ¶ 8. Due to the Riddell Defendants’ independent and independently actionable

fraudulent, tortious, and negligent conduct, the Players sustained latent and chronic injuries, even

death. Id.

            Although Riddell does not bother to connect its alleged misconduct with any CBA

provision, it does incorporate the NFL defendants’ arguments. Br. at 22-23. An examination of

these provisions (assuming this Court will even consider matters outside the pleadings) belies the

contention of subject matter overlap:


             Provision Cited by NFL in NFL Brief and                 Reason(s) Why Provision
                        Adopted by Riddell                                Inapplicable

 1     “If a Club physician advises a coach or other club       • No duties on NFL or Riddell
       representative of a player’s physical condition            Defendants.
       which adversely affects the player’s performance
       or health, the physician will also advise the player.    • Only duties on individual Clubs
       If such condition could be significantly aggravated        and Club personnel.
       by continued performance, the physician will
       advise the player of such fact in writing before the     • Relates only to active players.
       player is again allowed to perform on-field
       activity.”                                               • Relates to timing and
                                                                  circumstances of returning to
                                                                  active play.

                                                                • Nothing to do with cover-up of
                                                                  known long-term and serious
                                                                  neurological injuries or voluntary
                                                                  assumption of duties.

 2     “All determinations of recovery time for major           • No duties on NFL or Riddell
       and minor injuries must be by the club’s medical           Defendants.
       staff and in accordance with the club’s medical
       standards …. The prognosis of the player’s               • Only duties on individual Clubs



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             Provision Cited by NFL in NFL Brief and            Reason(s) Why Provision
                        Adopted by Riddell                           Inapplicable

       recovery time should be as precise as possible.”       and Club personnel.

                                                            • Relates only to active players.

                                                            • Relates to timing and
                                                              circumstances of returning to
                                                              active play.

                                                            • Nothing to do with cover-up of
                                                              known long-term and serious
                                                              neurological injuries or voluntary
                                                              assumption of duties.

                                                            • No mention of the Riddell
                                                              Defendants.

  3    “[I]f Player is injured in the performance of his    • No duties on NFL or Riddell
       services under this contract and promptly reports      Defendants.
       such injury to the Club physician or trainer, then
       Player will receive such medical and hospital care   • Only duties on individual Clubs
       during the term of this contract as the Club           and Club personnel.
       physician may deem necessary ….”
                                                            • Relates only to active players.

                                                            • Relates to player receipt of
                                                              medical services in real time for
                                                              injuries at work.

                                                            • Ignores that the neurological and
                                                              neurocognitive injuries Plaintiffs
                                                              suffer were not detectable at the
                                                              time of active play.

                                                            • Nothing to do with cover-up of
                                                              known long-term and serious
                                                              neurological injuries or NFL’s
                                                              assumption of its own duties or
                                                              Riddell’s assumption of its own
                                                              duties.

 4     “Each Club will have a board-certified orthopedic    • No duties on NFL or Riddell
       surgeon as one of its Club physicians. The cost of     Defendants.
       medical services rendered by Club physicians will



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             Provision Cited by NFL in NFL Brief and            Reason(s) Why Provision
                        Adopted by Riddell                           Inapplicable

       be the responsibility of the respective Clubs.”      • Only duties on individual Clubs
                                                              and Club personnel.

                                                            • Relates only to active players.

                                                            • Relates to type of real-time
                                                              medical care provided by Club.

                                                            • Nothing to do with cover-up of
                                                              known long-term and serious
                                                              neurological injuries voluntary
                                                              assumption of duties.

 5     “All full-time head trainers and assistant           • No duties on NFL or Riddell
       trainers … will be certified by the National           Defendants.
       Athletic Trainers Association. All part-time
       trainers must work under the direct supervision of   • Only duties on individual Clubs
       a certified trainer.”                                  and Club personnel.

                                                            • Relates only to active players.

                                                            • Relates to trainer qualification.

                                                            • Nothing to do with cover-up of
                                                              known long-term and serious
                                                              neurological injuries or voluntary
                                                              assumption of duties.

 6     “The home team shall provide a physician and an      • No duties on NFL or Riddell
       ambulance at each game available to both teams;        Defendants.
       said ambulance facilities shall be located at or
       adjacent to the stadium, with the driver in          • Only duties on individual Clubs
       attendance in the ambulance for the use of both        and Club personnel.
       competing teams.”
                                                            • Relates only to active players.

                                                            • Relates to ensuring doctor and
                                                              ambulance available to competing
                                                              and home teams.

                                                            • Nothing to do with cover-up of
                                                              known long-term and serious
                                                              neurological injuries or voluntary



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             Provision Cited by NFL in NFL Brief and            Reason(s) Why Provision
                        Adopted by Riddell                           Inapplicable

                                                              assumption of duties.

 7     “[A]ll club physicians and medical personnel shall   • No duties on NFL or Riddell
       comply with all federal, state, and local              Defendants.
       requirements, including all ethical rules and
       standards established by any applicable              • Only duties on individual Clubs
       government and/or other authority that regulates       and Club personnel.
       or governs the medical profession in the Club’s
       city.”                                               • Relates only to active players.

                                                            • Highly general statement of
                                                              commitment to compliance, no
                                                              specific duties.

                                                            • Nothing to do with cover-up of
                                                              known long-term and serious
                                                              neurological injuries or voluntary
                                                              assumption of duties.

 8     “The NFL shall develop and implement an online,      • Part of the 2011 CBA only;
       24-hour electronic medical record system within        facially inapplicable to virtually
       24 months of the effective date of this Agreement      all of the Plaintiffs here.
       or such longer period as the parties may agree.”
                                                            • Uncited language shows it relates
                                                              to who pays for the development
                                                              and implementation of a medical
                                                              record system and whether it is
                                                              counted as a Player Benefit Cost;
                                                              no substantive information or
                                                              suggestion of creating certain
                                                              kinds of records.

                                                            • Nothing to do with cover-up of
                                                              known long-term and serious
                                                              neurological injuries or voluntary
                                                              assumption of duties.

 9     “The parties agree to establish an Accountability    • Part of 2011 CBA only; facially
       and Care Committee, which will provide advice          inapplicable to virtually all of the
       and guidance regarding the provision of                Plaintiffs here. No mention of the
       preventive, medical, surgical, and rehabilitative      Riddell Defendants.
       care for players by all clubs. The Committee




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             Provision Cited by NFL in NFL Brief and              Reason(s) Why Provision
                        Adopted by Riddell                             Inapplicable

       shall … develop a standardized preseason and           • Focus on individual Clubs.
       postseason physical examination and educational
       protocol to inform players of the primary risks        • Relates only to active players.
       associated with playing professional football and
       the role of the player and the team medical staff in   • Nothing to do with cover-up of
       preventing and treating illness and injury in            known long-term and serious and
       professional athletes; … conduct research into           latent neurological injuries or
       prevention and treatment of illness and injury           diseases or voluntary assumption
       commonly experienced by professional athletes …          of duties.
       [and] assist in the development and maintenance
       of injury surveillance and medical records
       systems ….”

10     “If any player submits a complaint to the              • Part of 2011 CBA only; facially
       [Accountability and Care] Committee regarding            inapplicable to virtually all of the
       Club medical care, the complaint shall be referred       Plaintiffs here. No mention of the
       to the league and the player’s Club, which               Riddell Defendants.
       together shall determine an appropriate response
       or corrective action if found to be reasonable.”       • Relates only to active players.

                                                              • No substantive obligations.

                                                              • Nothing to do with cover-up of
                                                                known long-term and serious
                                                                neurological injuries or voluntary
                                                                assumption of duties.

11     “Each Club shall use its best efforts to ensure that   • No duties on NFL or Riddell
       its players are provided with medical care               Defendants.
       consistent with professional standards for the
       industry.”                                             • Only duties on individual Clubs
                                                                and Club personnel.

                                                              • Relates only to active players.

                                                              • Generalized statement.

                                                              • Nothing to do with cover-up of
                                                                known long-term and serious
                                                                neurological injuries or voluntary
                                                                assumption of duties.




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             Provision Cited by NFL in NFL Brief and           Reason(s) Why Provision
                        Adopted by Riddell                          Inapplicable

12     “The NFLPA shall have the right to commence an      • No duties on NFL or Riddell
       investigation before the Joint Committee [on          Defendants.
       Player Safety and Welfare] if the NFLPA believes
       that the medical care of a team is not adequately   • Relates only to active players.
       taking care of player safety.”)
                                                           • Relates to conduct of Club and
                                                             Club personnel.

                                                           • Nothing to do with cover-up of
                                                             known long-term and serious
                                                             neurological injuries or voluntary
                                                             assumption of duties.

13     “A player will have the opportunity to obtain a     • No duties on NFL or Riddell
       second medical opinion,” and the Club shall bear      Defendants.
       “the responsibility” for “the costs of [these]
       medical services.”                                  • Only duties on individual Clubs.

                                                           • Relates only to active players.

                                                           • Relates to payment.

                                                           • Nothing to do with cover-up of
                                                             known long-term and serious
                                                             neurological injuries or voluntary
                                                             assumption of duties.

14     “A player will have the right to choose the         • No duties on NFL or Riddell
       surgeon who will perform surgery … Any such           Defendants.
       surgery will be at Club expense[.]”
                                                           • Only duties on individual Clubs.

                                                           • Relates only to active players.

                                                           • Relates to surgeon selection.

                                                           • Nothing to do with cover-up of
                                                             known long-term and serious
                                                             neurological injuries or voluntary
                                                             assumption of duties.




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             Provision Cited by NFL in NFL Brief and            Reason(s) Why Provision
                        Adopted by Riddell                           Inapplicable

15     “[E]ach player will undergo a standardized           • No duties on NFL or Riddell
       minimum pre-season physical examination …              Defendants.
       which will be conducted by the Club physician,”
       and will further undergo a “post-season physical     • Only duties on individual Clubs
       examination” at the request of the player or Club.     and Club personnel.

                                                            • Relates only to active players.

                                                            • Relates to pre- and post-season
                                                              exams.

                                                            • Nothing to do with cover-up of
                                                              known long-term and serious
                                                              neurological injuries or voluntary
                                                              assumption of duties.

16     “Player will undergo a complete physical             • No duties on NFL or Riddell
       examination by the Club physician upon Club            Defendants, it is an obligation of
       request, during which physical examination Player      the Clubs alone.
       agrees to make full and complete disclosure of any
       physical or mental condition known to him which      • Corollary of above.
       might impair his performance under this
       contract ….”                                         • Relates only to active players.

                                                            • Nothing to do with cover-up of
                                                              known long-term and serious
                                                              neurological injuries or voluntary
                                                              assumption of duties.

17     “Player may examine his medical and trainers’        • No duties on NFL or Riddell
       records in the possession of the Club or Club          Defendants.
       physician two (2) times each year, once during the
       pre-season and again after the regular season.       • Only duties on individual Clubs
       Any player or former player may obtain a copy of       and Club personnel.
       his medical or trainer’s records upon request
       during the off-season. Player’s personal physician   • Relates primarily to active
       may, upon presentation to the Club physician of        players.
       an authorization signed by the player, inspect the
       player’s medical and trainers’ records []            • Appears only to memorialize
       forwarded to him ….”                                   likely pre-existing access to
                                                              personal medical records.

                                                            • Nothing to do with cover-up of



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             Provision Cited by NFL in NFL Brief and             Reason(s) Why Provision
                        Adopted by Riddell                            Inapplicable

                                                               known long-term and serious
                                                               neurological injuries or voluntary
                                                               assumption of duties.

18     “A Joint Committee on Player Safety and Welfare       • No duties on NFL or Riddell
       (hereinafter the ‘Joint Committee’) 5 will be           Defendants.
       established for the purpose of discussing the
       player safety and welfare aspects of playing          • Relates only to active players.
       equipment, playing surfaces, stadium facilities,
       playing rules, player-coach relationships, and any    • Process for potential rule changes
       other relevant subjects.”                               is different from content of rules
                                                               being memorialized as
                                                               obligations.

                                                             • Nothing to do with cover-up of
                                                               known long-term and serious
                                                               neurological injuries or voluntary
                                                               assumption of duties.

20     “If the NFLPA believes that the adoption of a         • No duties on NFL or Riddell
       playing rule change would adversely affect player       Defendants.
       safety,” it may seek to investigate and “request an
       advisory decision by [an] arbitrator[]” regarding     • Relates only to active players.
       the proposed rule change.
                                                             • Relates to union’s non-binding
                                                               abilities with respect to active
                                                               player safety.

                                                             • Nothing to do with cover-up of
                                                               known long-term and serious
                                                               neurological injuries or voluntary
                                                               assumption of duties.




5
 The Joint Committee was created “for the purpose of discussing, among other things, the player
safety and welfare aspects of playing equipment, playing surfaces, and stadium facilities. The
Joint Committee does not have the power to commit or bind any of the signatories to the CBA,
however, nor does the CBA establish a contractually agreed upon standard of care applicable to
Plaintiff’s claims.” See, e.g., Bush v. St. Louis Reg’l Convention, No. 4:16-cv-250, 2016 WL
3125869, at *4 (E.D. Mo. June 3, 2016).




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             Provision Cited by NFL in NFL Brief and              Reason(s) Why Provision
                        Adopted by Riddell                             Inapplicable

21     “The NFLPA will have the right to appoint two          • No duties on NFL or Riddell
       persons to attend those portions of the annual           Defendants.
       meeting of the NFL Competition Committee
       dealing with playing rules to represent the players’   • Relates only to active players.
       viewpoint on rules. One of the appointees shall
       have a vote on all matters considered at the           • Relates to union attendance at
       meeting which relate to playing rules.”                  NFL Competition Committee.

                                                              • Nothing to do with cover-up of
                                                                known long-term and serious
                                                                neurological injuries or voluntary
                                                                assumption of duties.

22     “[T]he interpretation of, application of, or           • By its terms, relates to CBA
       compliance with, any provision of” the CBAs,             provisions.
       player contracts, or any applicable provision of the
       Constitution “pertaining to terms and conditions       • Relates to active players.
       of employment of NFL players,” will be resolved
       exclusively in accordance with agreed-to               • Nothing to do with cover-up of
       arbitration procedures. Moreover, since 1970,            known long-term and serious
       “injury grievances” have been subject to                 neurological injuries or NFL’s
       arbitration.                                             assumption of its own duties or
                                                                Riddell defendants’ duties.

23     “[A] player … will receive an injury protection        • No duties on NFL or Riddell
       benefit … [when the] player … [has] been                 Defendants.
       physically unable, because of a severe football
       injury in an NFL game or practice, to participate      • Involves Clubs and Club
       in all or part of his Club’s last game of the season     personnel.
       of injury, as certified by the Club physician ….”
                                                              • Relates only to active players.

                                                              • Nothing to do with cover-up of
                                                                known long-term and serious
                                                                neurological injuries or voluntary
                                                                assumption of duties.

24     “The parties agree to design and establish a new       • No duties on NFL or Riddell
       plan … to provide medical benefits to former             Defendants.
       Players who are … determined … to have
       ‘dementia.’” [Amended in 2011: “[T]he Disability       • No bearing on whether the NFL
       Plan will be amended to provide a benefit for            breached a duty to protect those




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             Provision Cited by NFL in NFL Brief and                 Reason(s) Why Provision
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       those eligible Players, as defined below, who have           players from the risk of
       permanent, neuro-cognitive impairment . . . .”]              developing latent dementia in the
                                                                    first place.

                                                                 • Remedial insurance and health
                                                                   benefits provisions unrelated to
                                                                   tort liability.

                                                                 • First and only mention of
                                                                   permanent, neuro-cognitive
                                                                   impairment in 2011.

                                                                 • Nothing to do with cover-up of
                                                                   known long-term and serious
                                                                   neurological injuries or voluntary
                                                                   assumption of duties.


            Thus, the CBAs, as relevant here, relate to the roles and obligations of Clubs and Club

doctors and trainers having to do with active player fitness and injuries. Some address

generalized, process-oriented, non-binding statements about subjects related to Player safety only

at the most general levels and/or rule-making. Finally, and notably, the sole language even

mentioning the issues in this case—the reference to neuro-cognitive impairment (Row 24

above)—first appeared in the 2011 CBA, involving a benefit not implemented before then, and

even these provisions say nothing about the duties of protection and mitigation in the first place.

Dkt. No. 9522, at 17. Indeed, Riddell does not claim, nor could it claim, that it has obligations

under or is a part of any CBA.

III.        LEGAL STANDARD

            The Riddell Defendants have raised the affirmative defense of preemption under § 301 of

the LMRA, 29 U.S.C. § 185. See 29 U.S.C. § 185(a) (“[s]uits for violation of contracts between

an employer and a labor organization representing employees . . . may be brought in any district




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court of the United States having jurisdiction of the parties”). The Riddell Defendants have the

burden to establish that the Players’ claims require this Court to resolve an actual dispute over

the meaning of a specific provision of a collective bargaining agreement (“CBA”). See Kline v.

Sec. Guards, Inc., 386 F.3d 246, 256-261 (3d Cir. 2004). Kline instructs that a defendant cannot

manufacture a non-credible interpretation of a CBA to seek preemption; LMRA preemption

requires a “reasonable level of credibility” over a purported dispute. “Parallelism” between a

claim and a CBA does not justify preemption. See Lingle, 486 U.S. at 407-09 (§ 301 preempts a

state-law claim only if “resolution” of that claim “requires” the court to construe the CBA;

noting that the section “says nothing about the substantive rights” that employees enjoy under

state law); Livadas v. Bradshaw, 512 U.S. 107, 124 (1994) (“bare fact that a [CBA] will be

consulted in the course of state-law litigation” does not justify the defense).

            That a CBA provision in some general sense forms “part of the context in which [a] claim

must be addressed” does not suffice to get claims dismissed on preemption grounds. Kline, 386

F.3d at 257. In fact, “even if dispute resolution pursuant to a [CBA]” and “state law” would

“require addressing precisely the same set of facts” does not necessarily mean there is

preemption. Lingle, 486 U.S. at 409-10; see also Livadas, 512 U.S. at 125 (holding that a

CBA’s relevance to “damages computation” does not justify § 301 preemption). These

principles are consistent with the purpose of the LMRA, which again is to ensure a uniform body

of law to resolve labor disputes. See Berda v. CBS, Inc., 881 F.2d 20, 27 (3d Cir. 1989).6 The

LMRA does not displace state common-law claims and remedies when a party engages in

6
  Berda also explained that “the preemption of state law engendered by section 301 is only
occasioned when the claim raised ‘on the face of the complaint’ substantially depends on
interpretation” of a CBA. Berda, 881 F.2d at 24. Thus, to the extent the Riddell Defendants
purport to incorporate other Defendants’ arguments that the claims “arise out of” CBAs even if
they are not intertwined with them or depend on them (an argument Riddell itself does not
articulate), the position is inconsistent with applicable law.



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tortious or unlawful conduct independent of a CBA. See Fort Halifax Packing Co. v. Coyne, 482

U.S. 1, 21 (1987) (LMRA preemption should not be “lightly inferred” giving it risks usurping

“the traditional police power of the State”).

            In addition, because this case is at the pleading stage, the Riddell Defendants have an

additional burden of showing that the preemption defense is “apparent on the face of the

complaint.” Rycoline Prods., Inc. v. C & W Unlimited, 109 F.3d 883, 886 (3d Cir. 1997)

(holding that motion to dismiss is not the “proper vehicle” to decide a preemption defense absent

its facial application) (internal quotations omitted). Recently, for example, the court in In re

Nat’l Hockey League Players’ Concussion Injury Litig., 189 F. Supp. 3d 856, 875 (D. Minn.

2016) denied a LMRA pre-discovery motion as premature. In so doing, the court illustrated the

problems with an attempted preemption defense at the pleading stage:

            [T]he Amended Complaint does not reference any CBAs, and to the extent that
            Defendant has identified particular provisions that purportedly must be interpreted
            in order to resolve Plaintiffs’ claims, it is questionable whether those CBAs are
            embraced by the pleadings or are even relevant given that Plaintiffs are retired
            players who are no longer subject to collective bargaining.

Id. (noting the “major fact questions” requires the development of a record).7 The Riddell

Defendants failed to meet their substantial burden of demonstrating that this Court should

dismiss the Players’ claims based on the affirmative defense of LMRA preemption.




7
  Additionally, the Riddell Defendants do not distinguish between, and in some ways appear to
confuse, complete preemption and ordinary preemption. See In re Nat’l Hockey League Players’
Concussion Injury Litig., 189 F.Supp.3d at 864–68. Complete preemption is a jurisdictional
doctrine used to remove state claims to federal court. Id. at 864. “In contrast, ordinary
preemption is a federal defense that exists where a federal law has superseded a state law claim.”
Id. (internal citations removed).



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IV.         ARGUMENT

            A.     The Players’ Claims Against the Riddell Defendants Do Not Depend Upon
                   and Are Not Intertwined with the Interpretation of Any Term of Any CBA.

                   1.      The Players allege misconduct outside of and unrelated to CBAs.

            Adjudication of the Players’ claims does not require interpretation of any CBA provision

and the claims do not arise out of any CBA. Even putting aside the impropriety of the Riddell

Defendants going outside of the SAC on a motion to dismiss as to an affirmative defense, it is

noteworthy that the Riddell Defendants have been unable to locate any CBA provision remotely

applicable to the Players’ claims against Riddell. See Section II(B).

            This case is thus squarely within the line of recent authority (including cases post-dating

the earlier briefing on this issue before this Court, and one involving the Riddell Defendants) that

applies a proper analysis of LMRA preemption and finds that where, as here, a plaintiff alleges

independent misconduct involving duties under state common-law, preemption is not

appropriate. As the court stated in Oliver v. Riddell, No. 1:16-cv-04760, 2016 WL 7336412 at

*3-4 (N.D. Ill. Jul. 19, 2016):

            The “illegal act” in this instance, as alleged in the complaint, is the establishment
            of sham research committees (funded by both the NFL and Defendants), which in
            turn created sham studies that grossly inflated the effectiveness of Riddell helmets
            at mitigating certain kinds of head trauma. . . . It is difficult to see how or why
            the CBAs would play a role in this analysis. To be sure, the CBAs contain many
            provisions pertaining to the NFL’s duty to monitor player health and equipment,
            but the relevant question is not whether the NFL lived up to its standard of care
            under the CBAs. Rather, the issues are (1) whether Defendants manufactured a
            dangerous product, as defined by Illinois law, and (2) whether Defendants and the
            NFL agreed to work together to hide those dangers. Put differently: either Riddell
            helmets were dangerously defective, or they were not; and either Riddell and the
            NFL agreed to hide those dangers by funding/conducting sham studies, or they
            did not. A jury would not even need to glance at the CBAs to determine these
            facts.

Id. (rejecting defendants’ preemption arguments). Other recent cases include:




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    •       In re Nat’l Hockey League Players’ Concussion Injury Litig., 189 F. Supp. 3d at 867-83

            (LMRA did not preempt negligence, fraud, or negligent misrepresentation claims;

            rejecting virtually identical arguments, in the context of professional hockey, that the

            Riddell Defendants make here);

    •       Gulley v. Gen. Motors, LCC, No. 1:17-cv-00087, 2018 WL 526747, at *5 (M.D. Tenn.

            Jan. 16, 2018) (member of UAW bargaining unit said he was terminated for having a

            handgun in his car; no preemption at the pleading stage because, even if there were

            multiple reasons for his termination, one of them related to what employee said was a

            violation of Tenn. law allowing firearms);

    •       Benavidez v. Sandia Nat’l Labs, 212 F. Supp. 3d 1039 (D.N.M. 2016) (illustrating need

            for careful parsing of CBA language alongside specific state law at issue and how it is

            proven; holding that while intentional infliction of emotional distress claim for

            employee’s being downgraded was preempted, that same employee’s intentional

            infliction claim based on the employer’s belittling her for failing to pass coursework in

            connection with advancement turned on whether employer’s conduct was outrageous

            under state law and was not preempted);

    •       Green v. Bimbo Bakeries USA, 77 F. Supp. 3d 980, 985 (N.D. Cal. 2015) (employee’s

            misrepresentation claims not preempted even though oral agreement covered the same

            subjects as the CBA; “whether a right is independent of a collective bargaining agreement

            does not depend on whether the claim arises from precisely the same set of facts as a

            potential claim pursuant to a CBA dispute resolution process, but rather whether the legal

            character of the claim is such that the right exists separate and apart from any provision in

            the CBA”) (internal citations omitted and emphasis added);




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    •       Green v. Pro Football, Inc., 31 F. Supp. 3d 716, 727 (D. Md. 2014) (football player’s

            battery and civil conspiracy claims not preempted; noting that “professional football

            players have successfully brought suits for intentional injuries in court systems in the

            past, unblocked (so to speak) by the existence of a CBA”).

            These cases—and earlier ones in and out of this precise context—reflect that the courts

rolled up their sleeves and did the work, as directed by the Supreme Court and current appellate

law, of carefully examining the CBA provisions at issue (often after discovery) alongside the

actual claims in the case.

                   2.      The Riddell Defendants’ failure to conduct analysis under the specific
                           laws at issue or the CBAs purportedly at issue is a threshold problem
                           with their motion.

            While Defendants’ misconduct is unlawful under the laws of any and every jurisdiction,

and in fact all states impose a duty to disclose the material information that the Riddell

Defendants covered-up and lied about, the Riddell Defendants’ scattershot approach to seeking

to dismiss every Player’s claim for serious injuries is not viable.

            In footnote 117, Riddell argues that choice-of-law determinations are premature. Yet, if

so, this underscores how preemption arguments are premature. Riddell also argues that Plaintiffs

are estopped from raising choice of law because they rightly noted that there are common issues

of law in opposing a motion to sever. This confuses two issues: whether claims belong together

for purposes of adjudication or certain pre-trial adjudication, and the ultimate legal standards to

which any one plaintiff must prove individual claims. It may be that there are numerous

common if not identical legal issues, but an idiosyncratic difference between two laws may




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matter for this specific analysis.8 Riddell elides such differences. And, the far more serious

problem is that Riddell misstates the law, as discussed further below.

            In addition, Riddell, like the NFL, makes no effort to match Players to the relevant CBAs

in their actual analysis. It is notable that Riddell steers clear of any specific CBA term,

especially since all of the CBAs are inapplicable. Riddell’s imprecise approach in these two

areas is a basis on which to deny the motion altogether or, at minimum, underscores that it

should be dismissed as premature. See, e.g., In Re Nat’l Hockey League Players’ Concussion

Injury, 189 F. Supp. 3d at 870 (discussing how the questions about the different CBAs and their

applicability, and questions about when causes of action accrued further militated in favor of

denying a motion to dismiss on the pleadings).

                   3.     Fraud-based claims are not preempted.9

            The Riddell Defendants argue that the Players’ fraud-based claims—which it defines to

include negligent misrepresentation, civil conspiracy10, and breach of warranty—require

interpretation of CBA provisions. This is incorrect.




8
  For example, in various states, there may be additional arguments for rejecting LMRA
preemption or whose law counsels against the need to even look at the CBAs. Some states
impose quasi-fiduciary status to certain relationships, in others, “a tortfeasor cannot shift
responsibility to another party” by “contract.” LaMeau ex rel. Crnkovich v. City of Royal Oak,
No. 289947, 2012 WL 3590043, at *4 (Mich. Ct. App. Aug. 21, 2012) (per curiam). Different
states may have different rules about comparative fault (which Plaintiffs do believe is relevant
here, but about which Riddell argues).
9
  See Counts III (negligent misrepresentation), IV (fraud), IX (fraudulent concealment), VII
(breach of implied warranty), and VIII (civil conspiracy). Riddell offers no argument or case
law to support its argument that warranty, a prototypical products claim, is preempted (and they
cannot claim it requires the same proof as fraud, although they appear to suggest such a
conflation).
10
   Recent opinions have rejected preemption of civil conspiracy claims. See Green, 31 F. Supp.
3d at 727, and Oliver, 2016 WL 7336412.



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                           a.     The Riddell Defendants misstate the elements of fraudulent
                                  concealment and non-disclosure.

            The Riddell Defendants conflate misrepresentation with concealment, focusing on the

duty-to-speak element that only the latter claim implicates.11 Relatedly, the Riddell Defendants

misstate the law of fraudulent concealment and fraud by omission/fraudulent non-disclosure in

implying that only certain types of special relationships can give rise to the duty to speak. In fact

where, as here, Defendants have covered-up dangerous and material information under

circumstances giving rise to the duty to speak (including partial misstatements), there is fraud.

            Here, the Players allege that the Riddell Defendants committed fraud by failing to

disclose the truth, and orchestrating an affirmative campaign of disinformation about head

injuries in football. Plaintiffs further make clear that the Riddell Defendants’ duties to speak

arise due to their: (a) “superior special knowledge, information and access to material scientific

research and medical information that Plaintiffs did not have access to, and was not readily

available to Plaintiffs and the general public”; (b) their having “voluntarily and gratuitously

inserted themselves into the business of studying (and subsequently rendering expert opinions

about) the relationship between repetitive head impacts in football and brain injury”; and

(c) communicating with Plaintiffs and the public “while completely omitting material

information.” SAC ¶¶355,365, 363, 404-414 Even absent a fiduciary or special relationship, the

Players’ allegations satisfy the requirements of each state’s non-disclosure laws. Courts examine

the facts and circumstances of a case to determine whether a duty to speak exists. For example,

under Pennsylvania law, a distinction is recognized between active concealment and mere


11
  Affirmative misrepresentations can be fraudulent whether or not a duty to speak exists.
M.S. v. Cedar Bridge Military Acad., 904 F.Supp.2d 399, 412 (M.D. Pa. 2012) (“the court may
nonetheless impose liability on a defendant who assumes a duty of care by his affirmative
actions”); see also Section 323 of the Restatement (Second) of Torts.



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silence. See Aetna, Inc. v. Health Diagnostic Lab., Inc., No. 15-cv-1868, 2015 WL 9460072, at

*4-5 (E.D. Pa. Dec. 28, 2105); see also Roberts v. Estate of Barbagallo, 531 A.2d 1125 (Pa.

Super. Ct. 1987) (noting that Pennsylvania common law subsumes, and recognizes, the tort of

fraudulent concealment as stated in the Restatement (Second) of Torts ¶ 550, which imposes

liability on a party who, by concealment or other action, intentionally prevents the other from

acquiring material information). Other states where the Players reside or played are in accord.12

            Thus, the Riddell Defendants’ fraud claims are not intertwined with, and do not require

interpretation of, any CBA provision. The Riddell Defendants have not identified (and could not

identify) identify any CBA provision requiring the Riddell Defendants to do anything at all, let

alone with respect to concussions. Again, the CBA provisions at issue relate to Clubs and/or

active players and/or simply mention the existence of committees or the ability to make rules,

untethered to the content of any purported actual rules, let alone rules credibly requiring

application here. There is nothing that remotely refers to the duties of the equipment supplier.




12
  Riddell relies on inapposite cases that merely state the existence of a duty to disclose as an
element of fraudulent concealment. None of the cases undermines the well-established law that
the duty to speak arises in the circumstances here for various reasons. See, e.g., Smith v. Ramis,
647 Fed.App’x 679 (9th Cir. 2016) (unpublished) (affirming summary judgment in legal
malpractice case); Myre v. Meletio, 307 S.W.3d 839 (Tx. Ct. App. 2010) (post-trial case
involving flood-prone residential lots); Aubrey v. Sanders, No. 07-cv-0137, 2008 WL 4443826
(W.D. Pa. Sept. 26, 2008) (summary judgment relating to commercial investment context);
Matlin Patterson ATA Holdings, LLC v. Fed. Express Corp., 87 A.D. 3d 836 (N.Y. App. Div.
2011) (business dispute; investor did not adequately allege special relationship between company
and investor); Manti’s Transp., Inc. v. C.T. Lines, Inc., 68 A.D.3d 937 (N.Y. App. Div. 2009)
(summary judgment relating to commercial business dispute); Bortz v. Noon, 729 A.2d 555 (Pa.
1999) (post- trial context involving circumstances under which real estate brokers are liable for
agents’ misrepresentations). Atwater v. NFLPA, 626 F.3d 1170 (11th Cir. 2010), involved
claims against the NFL in connection with investment advice from third party financial advisors.
There was a CBA-mandated career-planning program, and the CBA contained a disclaimer that
the players were solely responsible for their own financial affairs.



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                           b.     The Riddell Defendants misstate how the Players have alleged,
                                  and will prove, justifiable reliance.

            The Riddell Defendants argue that the justifiable reliance element of fraud requires the

interpretation of the CBA provisions relating to health and safety. That reliance can be inferred

or demonstrated based on a variety of circumstances does not help the Riddell Defendants’

arguments. See, e.g., In re Resorts Int’l, Inc., 181 F.3d 505, 510 (3d Cir. 1999) (reliance inferred

“from the various facts and circumstances of a case”). The Riddell Defendants, like the NFL,

suggest that because people can (reasonably) rely on a number of things, the CBA could have

been one of them. Yet there is no allegation or evidence that any Player did rely on any CBA

provision, and even were it otherwise it would be arguable whether such reliance would have

been reasonable given the CBA provisions have nothing to do with the allegations in this case.

The CBAs are not relevant to the reliance element of the fraud claims or reasonableness in any

context, and certainly have not been shown to be at this early juncture.

             Further, reliance on “omitted information may be presumed where such information is

material.” Van Dongen v. CNinsure Inc., 951 F. Supp. 2d 457, 469 (S.D.N.Y. 2013); see also

Ochs v. Woods, 117 N.E. 305, 306 (N.Y. 1917) (“It is incumbent upon a plaintiff in an action for

deceit through false representations, to show that he was influenced by them. It does not require

very strong proof to establish it. In most cases, it may be inferred from the circumstances

attending the transaction.”); Varacallo v. Mass. Mut. Life Ins. Co., 752 A.2d 807, 817 (N.J. App.

2000) (applying “[t]he presumption or inference of reliance and causation, where omissions of

material fact are common”); Vasquez v. Superior Court, 484 P.2d 964, 973 (Cal. 1971) (en banc)

(“[I]f the trial court finds material misrepresentations were made to the class members, at least an

inference of reliance would arise[.]”). Here, the information the Riddell Defendants had access

to and failed to disclose, even before the MTBI Committee ever existed, was undoubtedly




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material to a Plaintiff’s decision to play football, to keep playing football, and/or to seek medical

treatment for latent injuries, the only evidence of which might—might—have been generalized

symptoms they lacked the information to know was related to their playing career.



            Relatedly, reliance may be inferred where affirmative misrepresentations—here, the

Riddell Defendants’ campaign of deception—come from an authoritative source and/or are so

pervasive that Plaintiffs could not help but be exposed. See In re Toyota Motor Corp., No. 10-

02151, 2012 WL 12929769, at *20 (C.D. Cal. May 4, 2012) (applying New York law, and

explaining that where a defendant “effectively controlled all the information about the

transaction, . . . Plaintiffs are entitled to a presumption of reliance.”); Small v. Lorillard Tobacco

Co., Inc., 252 A.D.2d 1, 18 (N.Y. App. 1998) (same); In re Tobacco II Cases, 207 P.3d 20, 40-

41 (Cal. 2009) (explaining that “where[] a plaintiff alleges exposure to a long-term advertising

campaign, the plaintiff is not required to plead with an unrealistic degree of specificity that the

plaintiff relied on particular advertisements or statements”); R.J. Reynolds Tobacco Co. v.

Martin, 53 So. 3d 1060, 1069 (Fla. App. 2010) (same).

            During all times relevant to this case—including but not limited to all times the Players

were active players and already suffered from latent conditions caused by their playing career—

the Riddell Defendants’ knowledge about head injuries, and the associated health risks, was

vastly superior to that available to Players. The Riddell Defendants were given a virtual

monopoly by the NFL and NFL P and participated with the NFL Defendants to create the MTBI

Committee because it knew it would hide the truth and that its false statements and omissions

and would be given credence by the Players and the public at large. SAC ¶¶70-77 Reliance is

satisfied.




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                          c.      The Riddell Defendants’ other arguments relating to Plaintiffs’
                                  fraud-based claims fail.

            The Riddell Defendants’ reliance on Williams v. Nat’l Football League, 582 F. 3d 863

(8th Cir. 2009) for its argument that fraud claims (as well as Plaintiffs’ entitlement to punitive

damages) must rely upon the CBAs is unavailing. Williams involved a steroid testing policy that

was expressly incorporated into the CBA at issue. That alone is a dispositive difference. Even

so, however, the court there noted that the dispute stemmed from the CBA, but it reasoned that

the legality of the procedures under the statutory claims would be determined based on “the facts

and the procedure that the NFL actually followed with respect to its drug testing” rather than the

meaning of the CBA provision itself. Id. at 876; but see id. at 868 (under a different circuit’s

law, finding common-law claims preempted that required interpretation of specific policy

provisions).13 Here, by contrast, the duties of Clubs and Club doctors to treat active Player’s

injuries and make timing decisions regarding return to play imposes no obligations on the

Riddell Defendants, or any duties on retired Players, and those duties have nothing to do with the

Riddell’s longstanding cover up of the dangers of head trauma in football.

            The Riddell Defendants, also citing the same cases as the NFL (Smith v. Nat’l Football

League Players Ass’n, 4:14-CV-1559 ERW, 2014 WL 6776306, at *1 (E.D. Mo. Dec. 2, 2014)

and Ballard v. Nat’l Football League Players Ass’n, 123 F. Supp. 3d 1161 (E.D. Mo. 2015)),

rely on the NFL Defendants’ arguments about the NFL’s Rulemaking as evidence of preemption.

Yet at least one court has rightly rejected the existence of the Joint Committee on Player Safety

and Welfare as a basis to find preemption. See Brown v. Nat’l Football League, 219 F. Supp. 2d


13
   Notably, the Court in Nat’l Hockey League distinguished Williams v. Nat’l Football League on
the basis it involved active players and specific CBA revisions raised by the players themselves,
but also because that case “was decided after the parties had engaged in discovery and developed
a factual record.” 189 F. Supp. 3d at 876.



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at 386-87 (“Article XIII §1(c) of the CBA suggests that while the process of rulemaking has been

bargained over and incorporated in the CBA, the content of the NFL Rules has not been made

part of the CBA”). The argument is even weaker with respect to the Accountability and Care

Committee, which was first agreed to be established in 2011. Ballard and Smith are inapposite

because involve claims by players against the union and that implicate representation issues.

The specific standard for the breach of the duty of fair representation claims against a union—

“when a union’s conduct toward a member of the collective bargaining unit is arbitrary,

discriminatory, or in bad faith”—has no application here. Ballard, 123 F. Supp. 3d at 1167.

The other cases the Riddell Defendants cite also involved direct CBA obligations, e.g., trainers’

alleged refusal to disclose a known injury or refusing to share x-ray results. See Sherwin v.

Indianapolis Colts., Inc., 752 F. Supp. 1172, 1174-78 (N.D.N.Y. 1990) and Givens v. Tenn.

Football, Inc., 684 F. Supp. 2d 985, 990-91 (M.D. Tenn. 2010).

            Finally, any discussion of the remedial provisions of insurance benefits made available

via a committee referenced in a CBA has nothing to do with the liability-creating conduct in the

first place. These and other CBA provisions are completely removed from Riddell’s role as

supplier of ineffective and deceptively unsafe equipment. As stated earlier, there is no

preemption “even if dispute resolution pursuant to a [CBA]” and “state law . . . would require

addressing precisely the same set of facts.” Lingle, 486 U.S. at 409-10; see also Livadas, 512

U.S. at 125 (holding that a CBA’s relevance to “damages computation” does not justify § 301

preemption). Thus, there is no basis to find that any fraud-based claim is preempted: the core

issues of Defendants’ knowledge, intent, and the impact of their conduct on Players do not

require application of the CBAs. See Duncan v. Icenogle, 873 F. Supp. 579, 584 (M.D. Ala.

1994) (rejecting preemption of fraudulent inducement case because plaintiff’s claim “focuses on




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the conduct of the defendants and not the CBA,” and it “centers on the knowledge and intentions

of the employer and not on the construction of the CBA”).

                   4.      Negligence-based claims are not preempted.14

            The Players’ negligence claims likewise will not require this Court to interpret any CBA

provision. The Riddell Defendants like “every person” in society, has a “social duty” to “take

thought and have a care lest his action result in injuries to others.” Prost v. Caldwell Store, Inc.,

187 A.2d 273, 276 (Pa. 1963) (internal quotations and citations omitted). The Riddell

Defendants’ duties spring from their voluntary undertakings (SAC ¶¶ 323-336, 341) and their

design, manufacture, and marketing of their products (SAC ¶¶ 337-38).

            In arguing for preemption, Riddell first purports not to understand the source of its duties,

notwithstanding the clear and detailed pleading, and it then relies on the same CBA provisions it

relies on throughout its brief: those that are irrelevant because they impose duties on Clubs and

Club doctors, involve active rather than retired Players, and that speak generally to rule-making

capabilities unconnected to any rules actually made. Most of the cases on which it relies stand

for the general proposition that negligence is a fact-based test, and its football-specific cases are

distinguishable:

            Riddell cites repeatedly to two opinions in cases that were folded into the MDL. See

Duerson v. Nat’l Football League, No. 12 CV 2513, 2012 WL 1658353 (N.D. Ill. May 11,

2012); Maxwell v. Nat’l Football League, No. CV 11-08394, Order (C.D. Cal. Dec. 8, 2011)

(Dkt. No. 58).15 As an initial matter, both opinions arose in the procedural posture of denying

motions to remand; neither held that the plaintiffs’ claims should be dismissed. The LMRA

14
   See Counts I (negligence), II (negligent marketing), III (negligent representation), V (design
defect), VI (failure to warn). To the extent Riddell duplicates arguments from its fraud section,
Plaintiffs reference the previous section.
15
   Neither involved a fraud claim.



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preemption question raised in these cases was related to jurisdiction: where these claims could

proceed, not whether these claims could be brought. Further, neither case addressed the legal

theories on which Players rely. Here, the SAC alleges historical facts showing that the NFL and

the Riddell defendants assumed a duty of care independent of the Clubs and doctors whose

duties the CBAs govern. Duerson’s complaint focused instead on the general duty “to keep

[players] reasonably safe.” Duerson, 2012 WL 1658353 at *4.

            The Maxwell plaintiffs, on the other hand, premised one of the NFL’s alleged duties on

the need to collaborate with Club doctors to make medical diagnoses.. The court viewed that

theory as requiring the “physician provisions of the CBA [to] be taken into account.” Maxwell at

2. And, because the court was faced with a motion to remand, it needed to address complete

preemption with respect to only that one claim. See id. The Players’ allegations here are not

comparable: unlike the plaintiffs in Duerson and Maxwell, Players here rely on negligence and

fraud theories that simply do not implicate the legal duties of Clubs and doctors. This Court

should not hold the Players’ claims in the SAC preempted based on these cases. See Glatts v.

Crozer-Keystone Health Sys., 645 F. Supp. 2d 446, 451 n.6 (E.D. Pa. 2009) (noting that § 301

preemption must rest on “case-by-case” analysis).

            In any event, to the extent that Duerson and Maxwell support the Riddell Defendants’

argument, this Court should decline to follow them. As Players have explained, both decisions

rested on the same faulty premise as the Riddell Defendants’ arguments here: that the Riddell

Defendants’ common-law duties depended on the separate duties of Clubs and doctors under the

CBAs. That premise is unwarranted, rests on speculation the courts in those cases should have

rejected, and whose implausibility is manifest in Defendants’ use of these cases in this motion.




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            The Riddell Defendants’ reliance on Stringer v. Nat’l Football League, 474 F. Supp. 2d

894 (S.D. Ohio 2007), is similarly misplaced. Stringer undermines their preemption defense as to

Players’ claims that the NFL failed to adopt equipment standards reasonably adapted to

minimize head trauma in football. As to other aspects of the opinion, any superficial similarities

do not justify preemption here. In Stringer, and unlike here, the plaintiffs expressly tied the

NFL’s duty to those of team trainers by alleging that “‘[a]thletic trainers . . . serve as the first line

of treatment for . . . heat-related illness.’” Stringer, 474 F. Supp. 2d at 910. That allegation—

and its dependence on CBA provisions governing trainers—led the Stringer court to find

preemption. See id. at 910-11.

            Players here allege the opposite: that the Riddell Defendants had an independent duty

unconnected to those of doctors and trainers. Unlike the acute heat stroke that the player in

Stringer suffered, neurodegenerative disorders develop gradually and often result from initially

asymptomatic sub-concussive impacts. SAC ¶¶ 8, 22. Individual trainers were not treating such

long-term injuries, and were not able in context to forestall or prevent their development. The

common law places an independent duty to address those injuries on the Defendants. And,

unlike in Stringer, that duty does not depend on the legal meaning ascribed to the CBA

provisions governing athletic trainers.16 Because of the type and nature of duties the NFL and the

Riddell defendants have and had, the claims are not preempted.




16
   Smith v. Houston Oilers, Inc., 87 F.3d 717 (5th Cir. 1996) was appropriately distinguished in
the Green v. Pro Football, Inc., 31 F. Supp. 3d 716, 727 (D. Md. 2014) matter as, among other
things, being against a party to the CBA that had duties under the CBA. The Riddell
Defendants’ other cases (referenced by incorporation by citing the NFL briefing) also involved
direct CBA obligations, e.g., trainers’ alleged refusal to disclose a known injury or refusing to
share x-ray results. See Sherwin, 752 F. Supp. at 1174-78 and Givens, 684 F. Supp. 2d at 990-
91.



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                   5.      Other claims are not preempted.

            First, the Riddell Defendants do not acknowledge the wrongful death, survival, and loss

of consortium claims (Counts XI, XII, XIII) in their Motion to Dismiss, and effectively concede

that they should stand.

            Second, the Riddell Defendants offer the catch-all and undeveloped argument in

connection with their claims and punitive damages that “numerous other necessary

considerations in the plaintiffs’ claims” (Mot. at 32) compel preemption, but does not explain

how. The fact that others share fault with Riddell does not create preemption (in fact, the

conspiracy here is a reason why there is no preemption). Riddell discounts joint and several

liability, and more fundamentally ignores the point behind it that an increase in wrongdoers does

not immunize one particular wrongdoer. “It is no defense” to an alleged breach of common-law

tort duties that “a similar duty rested upon another person.” 57A Am. Jur. 2d Negligence § 80;

see also Dougherty v. Hooker Chem. Corp., 540 F.2d 174, 178 (3d Cir. 1976).

            If it were otherwise, as then-Judge Stephen Breyer observed, individual responsibility

would “diminish . . . in direct proportion to” the number of wrongdoers involved. Lyon v.

Ranger III, 858 F.2d 22, 25-26 (1st Cir. 1988). Thus, the common law calibrates a party’s duty to

another person by analyzing their “relationship” to that person; the “utility” of their conduct;

their ability to “foresee[]” relevant risks; the “consequences of imposing [a] duty”; and the

“overall public interest.” R.W. v. Manzek, 888 A.2d 740, 746-47 (Pa. 2005) (internal quotations

omitted). None of those factors depends on the legal duties of third parties, especially the

victimized and defrauded Players themselves, given Riddell’s and the NFL’s conduct in

deceiving everyone involved.




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            B.     Riddell’s Cases Are Distinguishable and its Attempt to Distinguish Authority
                   Favorable to Plaintiffs Fails.

            As shown above, the cases that the Riddell Defendants rely on through their brief are

generally distinguishable, if not irrelevant, for one or more reasons: (a) the plaintiff brought

claims expressly relying on a CBA provision or claims implicating the union’s representation,

(b) the case is post-discovery or in a remand posture (in that the defendant had used section 301

preemption as the basis for removal and questions over the court’s subject matter jurisdiction,

implicating jurisdiction-related discovery, were at issue), or (c) the plaintiff had effectively

turned a contract claim into a negligence claim, typically without alleging intentionally tortious

conduct.

            Where, as here, claims are not based on the CBAs, preemption is inappropriate. Cf. Allis-

Chalmers Corp. v. Lueck, 471 U.S. 202 (1985) (relied on by the Riddell Defendants)

(employee’s claim for bad-faith handling under the disability plan included in the CBA, from

which the employee had applied for and been approved for benefits, preempted, to preserve goal

of uniform interpretation of labor contract’s terms); Beidleman v. Stroh Brewery Co., 182 F.3d

225 (3d Cir. 1999) (same) (the misrepresentation related to the question of whether the purported

CBA was binding and the tortious interference claim related to an attempt to deprive the

employees of their benefits in the employment agreement).

            Finally, Riddell argues that the Oliver case is distinguishable because the NFL was not a

defendant in that case and because Oliver focused on products liability. Putting aside that those

same patently non-preempted claims are in fact alleged here17, it cannot be the case, and is not the


17
  “Defendants suggest that the CBAs would be needed to determine the requisite duty of care.
But for who? Surely not Defendants since, as discussed above, they are not parties to the CBAs
and nothing in the CBAs modifies or controls Defendants’ common law duties as a
manufacturer.” Oliver, 2016 WL 7336412, at *4. The court went on to observe (arguably in
dicta) that “[w]hether the NFL had certain duties of disclosure or care is (again) simply irrelevant



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case, that non-preempted claims that are independent of the CBA become preempted because

another defendant is involved (especially when that other defendant’s claims are not preempted

either). In addition, Riddell’s argument that the NFL was absent from the Oliver case is

mistaken18: the NFL may not have been a legal defendant, but it was a factual co-conspirator and

the role of the NFL did not change the court’s analysis. The Oliver court looked at the products

issue and the conspiracy issue together in concluding that “either Riddell helmets were

dangerously defective, or they were not; and either Riddell and the NFL agreed to hide those

dangers by funding/conducting sham studies, or they did not. A jury would not even need to

glance at the CBAs to determine these facts.” Id. at *3. Plaintiffs respectfully broaden the Oliver

court’s turn of phrase: a jury will not need to look at any CBA to determine any of the facts in

this case.

            C.     At Minimum, the Riddell Defendants’ Motion Should Be Deferred Pending
                   Discovery.

            There is ample basis to deny the Riddell Defendants’ motion outright, and none to

consider granting it pre-discovery. A motion to dismiss is not the “proper vehicle” for

adjudicating an affirmative defense unless the defense is “apparent on the face of the complaint.”

Rycoline Prods., 109 F.3d at 886 (internal quotations omitted); cf. JM Mech. Corp. v. United

States, 716 F.2d 190, 197 (3d Cir. 1983) (reversing dismissal of claim based on “matters outside

the bounds of the complaint”); Christie v. Pub. Serv. Elec. & Gas Co., No. Civ. 04-5978, 2006

WL 462588, at *7-8 (D.N.J. Feb. 24, 2006) (declining to consider CBA on a motion to dismiss).


because the NFL’s conduct does not compose any part of Plaintiff’s fraudulent concealment
claim.” Id. However, this statement does not change the analysis for this Court because the
NFL’s conduct is also subject to adjudication and not preempted.
18
   Riddell implies that the fact that the NFL was not a defendant was dispositive. However, the
court looked at the fact in tandem with the fact that the Riddell Defendants “are admittedly not
parties to the CBAs.” Oliver, 2016 WL 7336412, at *2 (“these considerations alone strongly
counsel against a finding of” preemption) (emphasis added).



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            Further, even if the Riddell Defendants had demonstrated that Players’ claims might

ultimately implicate § 301, their argument for dismissing Players’ claims now falls well short of

meeting that strict standard of dismissal being appropriate on the face of the Complaint. See

Exal Corp. v. Roeslein & Assocs., Inc., No. 4:12-CV-01830, 2012 WL 4754748, at *3 (N.D.

Ohio Oct. 2, 2012) (preference for deciding on the merits); DeSilva v. N. Shore-Long Island

Jewish Health Sys., Inc., No. 10-cv-1341, 2012 WL 748760, at *10-11 (E.D.N.Y. Mar. 7, 2012)

(denying motion to dismiss based on § 301 preemption where “unclear” whether CBA

interpretation would actually be required).

V.          CONCLUSION

            For the reasons set forth above, Defendants’ Motion to Dismiss should be denied.

Dated: March 28, 2018                                Respectfully Submitted,

                                                     By:
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                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL LEAGUE                          No. 2:12-md-02323-AB
RETIRED PLAYERS’ CONCUSSION
INJURY LITIGATION                                        MDL No. 2323


THIS DOCUMENT RELATES TO: ALL                            Hon. Anita B. Brody
ACTIONS PENDING AND ALL CLAIMS
ASSERTED AGAINST ANY RIDDELL
DEFENDANT




                                    CERTIFICATE OF SERVICE

            I, Wendy R. Fleishman, hereby certify that on March 28, 2018, I caused a true and

correct copy of the foregoing Opt Out Plaintiffs’ Memorandum of Law in Opposition to

Defendants’ Motion to Dismiss Plaintiffs’ Second Amended Master Administrative Long-Form

Complaint Based on LMRA § 301 Preemption to be filed via CM/ECF system, in the United

States District Court, Eastern District of Pennsylvania, on all parties registered for CM/ECF.



Dated: March 28, 2018                                    /s/ Wendy R. Fleishman
                                                         Wendy R. Fleishman




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